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thereunder.1       Defendants oppose both of Finocchiaro’s motions.

Although no other plaintiffs filed motions to be appointed lead

plaintiff or objected to Finocchiaro’s motions, the reply brief

filed in support of Finocchiaro’s motions states that at least

five of the other named plaintiffs are available as alternative

lead plaintiffs if Finocchiaro is deemed unfit to serve as lead

plaintiff.

      For   the    following   reasons,         Finocchiaro’s   motion     to   be

appointed lead plaintiff is denied, as is his motion to appoint

co-lead counsel.        As explained below, these denials are without

prejudice     to   an    application       by    proposed   alternative     lead

plaintiffs to be appointed lead plaintiff and to have lead counsel

appointed.

                                 DISCUSSION

    1. Motion for Appointment of Lead Plaintiff

      The    Private    Securities     Litigation      Reform   Act   of    1995

(“PSLRA”) requires the appointment of a lead plaintiff and lead

plaintiff’s counsel in any “private action arising under this

chapter that is brought as a plaintiff class action pursuant to

the Federal Rules of Civil Procedure.”              15 U.S.C. § 78u-4(a)(1),




1Other securities class actions were brought in this district against NQ Mobile,
its executives, and others that Plaintiffs claim are “entirely separate and
apart from” the allegations in this lawsuit. Third Am. Compl. ¶ 4; see also In
re NQ Mobile, Inc. Sec. Litig., No. 13-CV-7608-WHP (S.D.N.Y. filed Oct. 28,
2013).

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(3).   The PSLRA contains the following notice requirement relating

to the appointment of lead plaintiff:

       Not later than 20 days after the date on which the complaint
       is filed, the plaintiff or plaintiffs shall cause to be
       published, in a widely circulated national business-oriented
       publication or wire service, a notice advising members of the
       purported plaintiff class—

            (I)       of the pendency of the action, the claims
                      asserted therein, and the purported class
                      period; and

            (II)      that, not later than 60 days after the date on
                      which the notice is published, any member of the
                      purported class may move the court to serve as
                      lead plaintiff of the purported class.


15 U.S.C. § 78u-4(a)(3)(A)(i).          Following the publication of such

notice and the close of the period for motions to be appointed

lead plaintiff, the court “shall appoint as lead plaintiff the

member . . . of      the    purported   plaintiff        class   that     the   court

determines to be the most capable of adequately representing the

interests     of    class   members,”       known   as    the    “most     adequate

plaintiff.”       15 U.S.C. § 78u-4(a)(3)(B)(i).

       A plaintiff is entitled to a presumption that it is the most

adequate plaintiff if it (i) has brought the motion for lead

counsel in response to the publication of notice; (ii) has the

“largest financial interest in the relief sought by the class”;

and (iii) otherwise satisfies the requirements of Rule 23 of the

Federal     Rules     of    Civil   Procedure.            15     U.S.C.     §   78u-

4(a)(3)(B)(iii)(I).         An investor who seeks to be appointed lead

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plaintiff     only   needs   to    make    a    preliminary    showing    that   it

satisfies the requirements of Fed. R. Civ. P. 23.                  Weltz v. Lee,

199 F.R.D. 129, 133 (S.D.N.Y. 2001).              See also In re Cendant Corp.

Litig., 264 F.3d 201, 263 (3d Cir. 2001) (noting that “[t]he

initial inquiry . . . should be confined to determining whether

the movant has made a prima facie showing of typicality and

adequacy.”).     The presumption of adequacy may be rebutted if it is

shown that the presumptive lead plaintiff “will not fairly and

adequately protect the interests of the class” or “is subject to

“unique      defenses   that      render       such   plaintiff    incapable     of

adequately      representing       the     class.”        15   U.S.C.     §    78u-

4(a)(3)(B)(iii)(II).

       Defendants attack Finocchiaro’s motions on numerous grounds.

Although not raised by Finocchiaro, the threshold issue is whether

defendants have standing to challenge the designation of lead

plaintiff.

       The PSLRA provides that, in appointing a lead plaintiff, “the

court shall consider any motion made by a purported class member

in response to the notice,” 15 U.S.C. § 78u-4(a)(3)(B)(i), and

that   the    presumption    that    a     plaintiff    is   the   most   adequate

plaintiff “may be rebutted only upon proof by a member of the

purported plaintiff class,”          15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).

In the Southern District of New York, however, several courts have

held that defendants do have standing to be heard during the

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appointment process.          See City of Pontiac Gen. Empls.’ Ret. Sys.

v. Lockheed Martin Corp., 844 F. Supp. 2d 498, 501 (S.D.N.Y. 2012);

Pirelli    Armstrong        Tire   Corp.    Retiree        Med.   Benefits    Trust   v.

LaBranche & Co., 229 F.R.D. 395 (S.D.N.Y. 2004); King v. Livent,

Inc., 36 F. Supp. 2d 187, 190 (S.D.N.Y. 1999).                        In King, Judge

Sweet observed that “permitting defendants to make a limited facial

challenge to a plaintiff’s motion for appointment of lead plaintiff

does not disrupt the statutory framework Congress set forth,” and

that “a therapeutic appointment process such as is envisaged by

the PSLRA will work better with more information than less.”                          36

F. Supp. 2d at 190, 191 (internal quotation marks omitted).

Moreover,     “[w]hen . . .         there       are   no    other     potential     lead

plaintiffs to challenge a moving party,” reliance on defendants to

ensure that the requirements of the PSLRA are satisfied may be

particularly justified.            Id. at 190.

     We agree with the reasoning of Judge Sweet and find that, in

the absence of a challenge by any plaintiff, defendants certainly

have standing: whether such standing is viewed as formal or not,

this Court welcomes submissions that inform its decision.

     Turning     to    defendants’         substantive       arguments,      defendants

first     dispute     the    sufficiency         of   the    notice     published     by

plaintiffs’ counsel, arguing that the notice (1) provided the wrong

deadline by which motions to serve as lead plaintiff were due and

(2) did not appear to have been designed to apprise potential class

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members of the action since the notice “was published in a single

issue of the Wall Street Journal’s print edition, in a small text

box at the bottom corner of a page in the Money & Investing section,

in extremely small font.”       Opp. at 10-11.

     The notice was published by plaintiff’s counsel on March 23,

2016 and stated that the deadline for moving to be appointed lead

plaintiff was May 21, 2016 – a Saturday, 59 days after March 23.

As plaintiffs’ counsel points out, by operation of law, the actual

deadline was Monday, May 23, 2016 (the first weekday after Sunday,

May 22, 2016).        The error as to the date of the deadline was

therefore    harmless    and   immaterial.    As   to   defendants’    other

argument, the PSLRA requires that the notice “be published . . .

in a widely circulated national business-oriented publication or

wire service.”        15 U.S.C. § 78u-4(a)(3)(A)(i).      The Wall Street

Journal     is   “a   widely   circulated    national   business-oriented

publication,” and courts have found that a single notice published

in Investor’s Business Daily suffices under the statute, see, e.g.,

Marsden v. Select Med. Corp., No. Civ.A.04-4020, 2005 WL 113128,

at *5 (E.D. Pa. Jan. 18, 2005); Seamans v. Aid Auto Stores, Inc.,

No. 98-CV-7395(DRH), 2000 WL 33769023, at *4 (E.D.N.Y. Feb. 15,

2000).    Although notice via an electronic service such as Business

Wire may have been a preferable alternative or addition, we find,

with some reluctance, that the publication in the Wall Street

Journal is sufficient under the statute. While small, it contained

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the information required by statute and appeared in the “Legal

Notices” section.

      Defendants     next    argue    that    Finocchiaro’s      motion     for

appointment as lead plaintiff was untimely.            Finocchiaro’s motion

was filed on May 24, 2016, one day after the 60-day deadline, and

his counsel faxed a notice to the Court in the early hours of May

24 stating that counsel had repeatedly tried to file the brief on

May 23 but had experienced technical problems. While Finocchiaro’s

May 24 filing was rejected on May 26, the rejection was for a minor

technical error, and Finocchiaro’s counsel re-filed the motion on

May 27.    Unlike in In re NYSE Specialists Securities Litigation,

where the motions were filed “years” after the deadline, 240 F.R.D.

128, 143 (S.D.N.Y. 2007), Finocchiaro substantially complied with

the deadline, and we deem his motion timely.2

      Defendants    are correct, however,         that Finocchiaro cannot

adequately    represent     the   class.3     Defendants     have   submitted

evidence – the authenticity of which Finocchiaro does not dispute –

that Finocchiaro sent highly profane, aggressive emails to NQ



2 As discussed below, the Court believes Finocchiaro cannot adequately represent
the class, and therefore will not appoint him lead plaintiff.           However,
Finocchiaro, through his counsel (who also represent the other named
plaintiffs), has stated in his reply brief that other named plaintiffs are
available to serve as lead plaintiff. The Court will allow these other named
plaintiffs to move to be appointed lead plaintiff, and will deem their motions
to relate back to the filing of Finocchiaro’s motion, making them timely.
3 Defendants also question whether Finocchiaro indeed has, as he claims, the

largest financial interest in the relief sought by the class. Opp. at 13. We
assume for purposes of this opinion that Finocchiaro does have the largest
financial interest.

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Mobile executives, including defendants Khan and Mathison, and

made retaliatory statements and promises such as “I’d pay every

dollar I have left to see your faces when your kids see you behind

the glass [in jail],” “I vow to take all your asses down one way

or another,” and “Call me nasty, call me irrational, I could care

less, but when it comes to my life being ruined by clowns, order

takers, and those who believe they are above the law, I will go to

the end of the earth to ensure you feel the pain you’ve inflicted

on me.”   Decl. of Def. Matthew Mathison in Opposition, Exs. C, E,

G.   Finocchiaro also does not dispute defendants’ claims that he

published false information about NQ Mobile on a website he created

and then sent the information to a Bloomberg reporter; that

Finocchiaro tried to obtain material inside information about NQ

Mobile; and that, after filing the complaint, he used a fake name

and alias email address to communicate with NQ representatives.

     While we make no finding about the ultimate veracity of the

claims about NQ Mobile that Finocchiaro published, and while anger

on the part of an investor who believes he has been defrauded is

understandable, this undisputed conduct raises a serious risk that

his animus toward the defendants would prevent him from acting in

the class’s best interests, see Kamerman v. Ockap Corp., 112 F.R.D.

195, 197 (S.D.N.Y. 1986) (plaintiff bringing securities claims

could not adequately represent class where it was “conceivable”

that his grudge against defendants “would override his amenability

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to    negotiating       with    defendants,        although        beneficial     to    the

class”), as well as doubts about his credibility, see Savino v.

Computer Credit, Inc., 164 F.3d 81, 87 (2d Cir. 1998) (plaintiff

deemed unfit to represent class where his conduct created “serious

concerns as to his credibility at any trial”).                              Accordingly,

Finocchiaro is not an adequate class representative.

       As noted, the reply brief states that at least five of the

other    named     plaintiffs          are   available        as    alternative        lead

plaintiffs.         Earlier       in    this      litigation,       these    plaintiffs

submitted    sworn      certifications           pursuant     to    15   U.S.C.    § 78u-

4(a)(2).    If any of these other named plaintiffs wishes to move to

be appointed lead plaintiff, she or he should do so within 30 days

of this order, and the Court will consider the application.                              In

that    regard,    we    note    the     need     for   an    updated     certification

referencing the Third Amended Complaint.

     2. Motion for Appointment of Co-Lead Counsel

       Defendants also argue that Deramus Law and Gentle, Turner

should not be appointed lead counsel because they (1) have made

numerous errors in this litigation that demonstrate an inability

or unwillingness to comply with applicable rules, and (2) lack

securities class action experience.                     Because the other named

plaintiffs,       one   of     whom    may   become     the    lead      plaintiff,     are

represented by these same law firms, we will address this argument.



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     While    plaintiffs’      counsel    has   made   several    technical      or

procedural errors in this litigation, the Court does not find them

to be disqualifying. Moreover, the declarations of Messrs. Deramus

and Gentle reveal that they have some securities class action

experience,       extensive    experience       with   class     actions      more

generally, and other impressive legal credentials.                Also relevant

is the fact that no plaintiffs have proposed alternative lead

counsel.     However, the papers in support of Finocchiaro’s motion

do not explain why the appointment of two firms as co-lead counsel

is justified.        Such explanation is necessary since appointing

multiple firms raises real risks of duplication of effort and

unnecessary attorneys’ fees.           That said, we recognize that there

may be reasons, not stated in the motion papers, for why both firms

are needed.       We therefore afford any plaintiff who moves to be

appointed    lead    plaintiff    in     accordance    with    this   Order      an

opportunity to explain why appointing these two firms as co-lead

counsel would be warranted.         We also urge plaintiffs’ counsel to

be   more    careful    to    respect     procedures    and      proofread      its

submissions, which have contained too many typos and confusing

sentences.

                                  CONCLUSION

     For    the    foregoing     reasons,     Finocchiaro’s      motion    to    be

appointed lead plaintiff is denied, and his motion to appoint co-

lead counsel is also denied.           These denials are without prejudice

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